EXHIBIT
  A
4/23/25, 4:10 PM       American Civil Liberties Foundation of PA Mail - Activity in Case 3:25-cv-00113 A.S.R. v. TRUMP et al Petition for Writ of Habeas C…



                                                                                                          Vanessa Stine <vstine@aclupa.org>



  Activity in Case 3:25-cv-00113 A.S.R. v. TRUMP et al Petition for Writ of Habeas
  Corpus
                                                                                                                        Tue, Apr 15, 2025 at 10:38
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     The following transaction was entered by Stine, Vanessa on 4/15/2025 at 10:38 AM EDT and filed on 4/15/2025
     Case Name:           A.S.R. v. TRUMP et al
     Case Number:         3:25-cv-00113
     Filer:               A.S.R.
     Document Number: 1

     Docket Text:
     CLASS ACTION PETITION for Writ of Habeas Corpus (Filing fee $5, receipt number
     APAWDC-8811216), filed by A.S.R.. (Attachments: # (1) Civil Cover Sheet, # (2) Exhibit)
     (Stine, Vanessa)

     3:25-cv-00113 Notice has been electronically mailed to:

     Vanessa Stine &nbsp &nbsp vstine@aclupa.org

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     Document description:Main Document
     Original filename:n/a
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     [STAMP dcecfStamp_ID=1098469114 [Date=4/15/2025] [FileNumber=9109774-0
     ] [52a17044b05939b66769224b22c170ca4d9ff527266f8b7cb46980abc5237a50dfa
     abc66b0fac90ed2b10b5d76d02b1369a140cda2d7df3dae98a076597c5a68]]
     Document description:Civil Cover Sheet
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     [STAMP dcecfStamp_ID=1098469114 [Date=4/15/2025] [FileNumber=9109774-1
     ] [13578c2c2e15207195846ddac1f009604d408ebd01deda765fc85d787465af06893
https://mail.google.com/mail/u/0/?ik=6ce31dcd14&view=pt&search=all&permmsgid=msg-f:1829479901331955092&simpl=msg-f:1829479901331955092                  1/2
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     cae1e94f3eeea91b0fa1ea99f86d1a3a9d88b9caa9e3a30e45439529c295c]]
     Document description:Exhibit
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     Electronic document Stamp:
     [STAMP dcecfStamp_ID=1098469114 [Date=4/15/2025] [FileNumber=9109774-2
     ] [abb3c924f6e7b85b25c6facf3a10b2153b3f1a3368694f6a0ce3a496132bccefe56
     7588e1f25aea7d62169294397bad9d163da2cd1f79bf9688248b8820effe7]]




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